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     Attorneys for Plaintiff
14   LENOVO (SINGAPORE) PTE. LTD.

15
                                UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                         SAN JOSE DIVISION
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19
     LENOVO (SINGAPORE) PTE. LTD.,                Case No. 5:08-CV-3454-JF-PSG
20
                 Plaintiff,
21
          vs.                                     JOINT STIPULATION AND ------------------
                                                                        [PROPOSED]
22                                                ORDER OF DISMISSAL WITH
     SHUTTLE, INC. and SHUTTLE COMPUTER           PREJUDICE
23   GROUP, INC.,
                                                  Judge: Hon. Jeremy Fogel
24               Defendants.

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                     JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
                                  CASE NO. 5:08-CV-3454-JF-PSG
            Case 5:08-cv-03454-JF Document 94 Filed 05/17/11 Page 2 of 4



            Plaintiff Lenovo (Singapore) Pte. Ltd. (“Plaintiff”) and Defendants Shuttle Inc. and Shuttle
 1
     Computer Group Inc. (together “Defendants”) respectfully request that the Court enter an order
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     dismissing this case with prejudice. In support of this Stipulation, the parties state as follows:
 3
            I.      Settlement has been Consummated
 4
            1.      The parties have consummated their settlement and hereby stipulate to dismissal of all
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     claims and counterclaims in the above-captioned action with prejudice pursuant to Fed.R.Civ.P.
 6
     41(a)(2) and (c). The parties have settled all claims for relief in the above-captioned lawsuit.
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            2.      The parties, through their attorneys of record, respectfully request this Court to
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     dismiss Plaintiff’s claims for relief against Defendants and Defendants’ counterclaims for relief
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     against Plaintiff with prejudice and with all attorneys’ fees, costs of court and expenses borne by the
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     party incurring same.
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            FOR THE ABOVE REASONS, the parties respectfully request that the Court enter an order
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     dismissing this case and with prejudice.
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     SO STIPULATED:
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                                                           Respectfully submitted,
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16   Dated: May 10, 2011                               AKIN GUMP STRAUSS HAUER & FELD LLP
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18
                                                       By: /s/ Fred I. Williams
19                                                         FRED I. WILLIAMS
20                                                       Attorneys for Plaintiff
                                                         LENOVO (SINGAPORE) PTE. LTD.
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                        JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
                                    CASE NO. 5:08-CV-3454-JF-PSG
             Case 5:08-cv-03454-JF Document 94 Filed 05/17/11 Page 3 of 4



 1   Dated: May 10, 2011                                        SIDLEY AUSTIN LLP

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 3
                                                                By: /s/ Robert B. Morrill
 4                                                                  ROBERT B. MORRILL1
 5                                                                 Attorneys for Defendants SHUTTLE, INC. and
                                                                   SHUTTLE COMPUTER GROUP, INC.
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      Pursuant to General Order 45(X), the filer of this document hereby attests that concurrence in the filing of the
     document has been obtained from Robert B. Morrill.
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                                                               2
                            JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
                                         CASE NO. 5:08-CV-3454-JF-PSG
           Case 5:08-cv-03454-JF Document 94 Filed 05/17/11 Page 4 of 4



 1                                         ------------------
                                           [PROPOSED] ORDER

 2          PURSUANT TO STIPULATION, IT IS HEREBY ORDERED that:

 3          1.     All claims and counterclaims asserted in this suit between Plaintiff and Defendants

 4   are hereby dismissed with prejudice; and

 5          2.     All attorneys’ fees and costs are to be borne by the Party that incurred them.

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 9                                                            HONORABLE JEREMY FOGEL
                                                             UNITED STATES DISTRICT JUDGE
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11            5/13/11
     Dated: ________________________
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                                      [PROPOSED] ORDER OF DISMISSAL
                                        CASE NO. 5:08-CV-3454-JF-PSG
